     Case 2:18-cv-00414 Document 19 Filed on 02/08/19 in TXSD Page 1 of 4
                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                 February 08, 2019
                       UNITED STATES DISTRICT COURT
                                                                                 David J. Bradley, Clerk
                        SOUTHERN DISTRICT OF TEXAS
                          CORPUS CHRISTI DIVISION
___________________________________
                                    §
Sandpiper Condominium Council       §
Of Co-Owners, Inc.                  §
                                    §
v.                                  §                 CIVIL ACTION NO. 2:18CV414
                                    §
Lexington Insurance Company         §
___________________________________ §


                                SCHEDULING ORDER

   1. JURY SELECTION/TRIAL (ETT: 7-10 days) is set for April 13, 2020 at 8:30
      a.m. before United States District Judge Nelva Gonzales Ramos at the United States
      District Courthouse, Third Floor Courtroom (310), 1133 N. Shoreline Blvd., Corpus
      Christi, Texas. If the parties are prepared for trial before this date, a Joint Motion
      and Proposed Order indicating that the case is ready for trial and requesting an
      earlier date may be filed with the Court. See below for important provision about
      usage of courtroom information technology equipment.
   2. The deadline for JOINDER OF PARTIES AND AMENDMENT OF
      PLEADINGS is November 1, 2019. This provision does not relieve the parties
      from the requirement of obtaining leave to file the pleading or add parties whenever
      required by the Federal Rules of Civil Procedure (e.g., FED. R. CIV. P. 15(a)(2)).
   3. DESIGNATION OF EXPERTS BY PLAINTIFFS must take place on or before
      September 30, 2019. DESIGNATION OF EXPERTS BY DEFENDANTS must
      take place on or before November 15, 2019. Written reports by experts under
      FED. R. CIV. P. 26(a)(2)(B) are due at the time of designation of each expert. Parties
      are ordered to file only a list of proposed witnesses with the Court pursuant to FED.
      R. CIV. P. 26, but NOT reports or other discovery materials.
   4. A DEMAND LETTER must be presented to Defendant(s) no later than November
      15, 2019 and a RESPONSE is due thirty (30) days after receipt of the demand
      letter. The parties shall not file the demand or response with the Court; however, a
      STATEMENT OF INTENT REGARDING MEDIATION must be filed with the
      Court on January 2, 2020.
   5. DISCOVERY shall end on December 31, 2019.
   6. A STATUS CONFERENCE will be held on February 5, 2020 at 9:00 a.m. The
      Parties should be prepared to discuss discovery, any pending motions, any
      additional motions practice anticipated by the parties, the possibility of settlement,
      and mediation.
  Case 2:18-cv-00414 Document 19 Filed on 02/08/19 in TXSD Page 2 of 4



7. Except for good cause, the deadline for filing all DISPOSITIVE AND DAUBERT
   MOTIONS is on February 3, 2020. Pursuant to Local Rule 7.4, failure to respond
   by the submission date provided by Local Rule or as modified by the Court will be
   considered by the Court as if the motion is unopposed, and the motion may be
   granted.
8. The parties’ JOINT PRETRIAL ORDER, together with WITNESS LISTS,
   EXHIBIT LISTS, MOTIONS IN LIMINE, and DESIGNATION OF
   DEPOSITION EXCERPTS FOR WITNESSES BEING CALLED BY
   DEPOSITION shall be filed no later than March 20, 2020. Plaintiff(s) will be
   responsible for the filing of a Joint Pretrial Order, executed by the attorney-in-
   charge for each party, and conforming fully with the form set out in Appendix B of
   the Local Rules of the Southern District of Texas. This satisfies the requirements
   of FED. R. CIV. P. 26(a)(3). Plaintiff(s) shall allow all parties at least fifteen (15)
   business days for review and contribution. In the event of any failure to cooperate
   in signing the Joint Pretrial Order, a party may file, by the Joint Pretrial Order
   deadline, a motion for leave to file a Joint Pretrial Order without the signature of all
   counsel, showing good cause. Differences of the parties with respect to any matter
   relevant to a pretrial order will be set forth in the Joint Pretrial Order at the ap-
   propriate place. Willful or indifferent failure to submit a well-prepared Joint Pretrial
   Order in a timely fashion or to respond to its completion is cause for dismissal in
   the case of Plaintiff, or in the case of Defendant, is cause for default.
9. DISPUTES REGARDING MATTERS ACCOMPANYING JOINT
    PRETRIAL ORDER. Parties are ordered to confer regarding the substance of
    motions in limine, exhibit and witness lists, deposition excerpts, and any other
    documents submitted with the Joint Pretrial Order to resolve matters on which the
    parties can agree so that the Court’s attention is directed only to specific matters in
    genuine dispute. Parties are ordered to file with the Court a notice identifying any
    remaining objections to those documents no later than March 27, 2020.
10. FINAL PRETRIAL CONFERENCE is set for April 3, 2020 at 9:00 a.m. before
    United States District Judge Nelva Gonzales Ramos at the United States District
    Court, Third Floor Courtroom (310), 1133 N. Shoreline Blvd., Corpus Christi,
    Texas. The attorney-in-charge for each party is required to be present.
11. MOTION PRACTICE. All pleadings, motions, briefs, memoranda, and requests
    for affirmative relief will be directed to the Court in pleading form, not
    correspondence form, through the United States District Clerk in Corpus Christi,
    Texas:
                            United States District Clerk
                              Corpus Christi Division
                            Southern District of Texas
                              1133 N. Shoreline Blvd.
                             Corpus Christi, TX 78401
  Case 2:18-cv-00414 Document 19 Filed on 02/08/19 in TXSD Page 3 of 4



   a. You are requested NOT to use the informality of letter briefs, letters citing
      authorities, or letters requesting continuances or other affirmative relief.
      Additionally, do not copy the Court on letters between the parties.
   b. Local Rule 7 provides rules and deadlines for pre-trial motions. Counsel must
      familiarize themselves with this rule.
   c. Certificates of conference are required on most pre-trial motions.
   d. Failure to respond within the deadline may result in the granting of the relief
      requested.
   e. In addition to the provisions of Local Rule 7, this Court ORDERS that legal
      memoranda, including motions and responses, greater in length than twenty-five
      (25) pages shall NOT be filed without leave of Court. Page limits may not be
      circumvented by filing multiple separate motions seeking the same or similar
      relief, font less than 12-point (13-point font or larger is preferred), margins less
      than one inch, line spacing less than double (with the exception of appropriate
      block indents and footnotes), or excessive use of footnotes. If deposition
      testimony is attached as an exhibit, it shall be submitted in the condensed or
      mini-script format, i.e., four pages to one page.
   f. Replies in support of motions of no more than ten (10) pages may be filed with
      this Court without first obtaining leave of Court. However, the Court may in its
      discretion rule on a motion without awaiting any reply. Any party planning to
      file a reply should file a notice of intention along with the date by which the
      reply will be filed so that the Court may schedule its workload accordingly.
   g. Any additional memoranda (such as sur-replies) are not permitted without leave
      of Court and may not exceed five (5) pages absent specific relief from the page
      limitation.
12. PRE-MOTION CONFERENCE REQUIREMENT FOR DISCOVERY
    MOTIONS. Any party wishing to make any discovery motions must arrange for a
    pre-motion conference with the Court before the preparation and submission of any
    motion papers. That includes a motion to compel, to quash, for protection, or for
    sanctions. Email Mrs. Cortez at Brandy_Cortez@txs.uscourts.gov to arrange for a
    pre-motion conference. Notify your adversary of the date and time for the
    conference. Failure to comply with the pre-motion conference requirement may
    result in the Court striking the motion without notice.
13. IT EQUIPMENT. The courtroom is equipped with computer technology for
    displaying images on a large screen and on monitors for the judge, jury, and witness.
    However, it is essential that attorneys who plan to use that equipment know in
    advance how the equipment works and which type of attorney equipment is
    compatible with the system. Attorneys must arrange with the Case Manager at least
    one day in advance of the use of the equipment for hearing or for trial to familiarize
    themselves with the system. As technology is always changing, attorneys should
Case 2:18-cv-00414 Document 19 Filed on 02/08/19 in TXSD Page 4 of 4



 check with the Case Manager each time use is requested. Failure to do so will not
 be permitted to delay the proceedings or the Court’s docket.
 ORDERED this 8th day of February, 2019.


                                         ______________________________
                                         NELVA GONZALES RAMOS
                                         UNITED STATES DISTRICT JUDGE
